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                          COMMONWEALTH OF MASSACHUSETTS
                              SUFFOLK SUPERIOR COURT

SUFFOLK, SS                                            Civil DOCKET# 04-3848

Maria Rosenthal,                               )
Anina Rasten                                   )
       Plaintiffs,                             )
                                               )
v.                                             )
                                               )
Town of Brookline,                             )
Officer Gregory Gillis,                        )
Officer John Canney,                           )
Officer John Dewan Jr.,                        )
Fireman Christopher Merrick,                   )
James Cotter                                   )
Officer John Doe                               )
        Defendants.                            )


     PLAINTIFF. MARIA ROSENTHAL'S FIRST SET OF INTERROGATORIES TO
                     DEFENDANT TOWN OF BROOKLINE

Pursuant to Mass. R. Civ. P. 33, the plaintiff, Maria Rosenthal, hereby requests that the
defendant, Town of Brookline, answer the following interrogatories in writing and under oath
within forty-five (45) days from the date of service ofthis document upon counsel.


                                          INSTRUCTIONS
        These interrogatories are deemed to be continuing to the extent permitted by Mass. R.
Civ. P. 26(e). If you become aware of additional information which is responsive to these
interrogatories, you shall supplement your answers immediately.
        If any interrogatory herein is claimed objectionable, then (i) the portion of such
interrogatory claimed to be objectionable shall be identified, and the nature and basis ofthe
objection shall be stated with sufficient particularity and in sufficient detail to permit the court to
rule on the validity ofthe objection, (ii) any information withheld pursuant to such objection
shall be identified with sufficient particularity and in sufficient detail to permit the court to
determine what portion of such information falls within the scope of such objection; and (iii)
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information shall be provided in response to any portion of such interrogatory that is not claimed
to be objectionable.
                                           DEFINITIONS
        You or Your. "You" or "your" means the defendant, Town of Brookline, or any person
acting for their or on their behalf, unless otherwise indicated.
       Plaintiff. "Plaintiff' means the plaintiff, Maria Rosenthal.
       Document(s). "Document" or "documents" shall mean and include, without limitation,
any and all papers, letters, correspondences, recordings, notes, agreements, lists, ledgers, tape
recordings, logs, statements, telephone messages, computer in-put or out-put, including the
reduction of any and all oral statements to writing in your possession, custody, or control or any
of your representatives.




                                       INTERROGATORIES
1.     Please state the name, title and telephone number of the individual answering these
       interrogatories on behalf ofthe defendant Town of Brookline.


2.     Please identify each person with whom the Town of Brookline consulted and identify
       each document which the Town of Brookline referred to for information used in
       answering these interrogatories.


3.     If the Town of Brookline claims that it was justified or privileged in its acts concerning
       the alleged incident, specify as fully as possible the facts upon which the Town of
       Brookline bases these claims.


4.     If the Town of Brookline claims that the plaintiffs injuries were caused in whole or part
       by her own negligence or the negligence of others, please elaborate.


5.     Is the Town of Brookline aware of the existence of any photographs, video and audio
       tapes which pertain or relate to the arrest, booking, detention and release of the plaintiff
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         in the underlying criminal matter, (Brookline Division, 0109CR000896)? If the answer is
         in the affirmative, please describe each said item and state their location.


6.       Is the Town of Brookline aware ofthe existence of any transcripts or tapes of radio traffic
         pertaining to the plaintiff and/or the incident on 09/03/01 from 13:30 to 15:30, e.g. 1:30
         P.M. to 3:30 P.M?     If so, please state the location of each such item and the names and
         addresses of those people, including the officers, 911 operators, and 911 dispatchers who
         are on the tapes.


7.       Is the Town of Brookline aware ofthe existence of any written or recorded statements,
         signed or unsigned, and/or copies of all verbatim, written transcriptions of statements of
         any party, including the plaintiff, to this lawsuit which relates or pertains to the
         allegations in any pleading in this lawsuit? If your answer is in the affirmative, please (a)
         identify the location of such statements, (b) the date(s) they were taken and (c)the
         substance of any and all such statements.


8.       State when the Town of Brookline was first notified about plaintiffs injuries and specify
         the manner of notification, whether in writing or orally.


9.       Please describe what guidelines, if any the Town of Brookline and/or its Police
         Department prescribes for the following circumstances:
         a.     The arrest and detention of geriatric suspects;
        b.      911 operators and dispatchers commenting on a calVcaller;
         c.     Officer's responding to a suspected domestic violence dispute; and
         d.     The requisite probable cause needed for an officer to gain entry to a residence.


10.     Please provide the names and addresses of all witnesses to the incident, including but not
         limited to all dispatchers, 911 operators, officers, and fire officers, and those involved in
        the plaintiffs arrest, booking, and detention, specifying what aspect they were involved
        in, and whether they are expected to testify at trial.
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11.     Please provide the names and addresses of any other persons having knowledge of
        relevant facts relating to the incident involved in this action, and whether they are
        expected to testify at trial.


12.     Please detail all conversations any agent, servant, and/or employees of the Town of
        Brookline had with the Plaintiff or anyone acting on her behalf regarding the events
        complained of.


13.     Please describe what if any training the Town of Brookline provided for its employee
        officers with respects to:
        a.      law enforcement and geriatric citizens;
        b.      domestic violence disputes;
        c.      Probable cause needed to enter a residence;
        d.      911 operators and dispatchers taking calls; and
        e.      911 operators and dispatchers discussing calls and/or caller after caller hangs up.


14.     Identify each expert witness whom the Town of Brookline expects to call to testify at
        trial, and as to each, state separately and in full and complete detail the following:
        a.     The names and addresses of each person whom the Town of Brookline expect to
               call to testify at trial as an expert witness;
        b.     The subject matter upon which each person is expected to testify;
        c.     The substance of the facts and opinions to which the person is expected to testify;
               and
        d.     The grounds for each expert opinion, including, where relevant, the methods and
               processes utilized by the expert in arriving at his opinion.


16.     Did the Town of Brookline, in terms of its Police Internal Affairs Department, or
        otherwise, conduct an investigation of this incident? If so, please specify the name,
        address and telephone number of the person(s) conducting the investigation(s) and the
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      dates of such investigations.


                                                  The Plaintiff, by counsel




DATE: September 9,2004
